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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


    PAUL T. EDWARDS, GERRY                                Case No: 3:14-cv-1714 (VAB)
    WENDROVSKY, SANDRA
    DESROSIERS and LINDA SOFFRON,
    on behalf of themselves and all others
    similarly situated,

                         Plaintiffs,

v.

NORTH AMERICAN POWER & GAS, LLC,

                         Defendant.



PLAINTIFFS’ MOTIONS FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT,
   CERTIFICATION OF SETTLEMENT CLASS, AND APPROVAL OF AWARD OF
    ATTORNEYS’ FEES AND EXPENSES AND PLAINTIFF SERVICE AWARDS

          Plaintiffs Paul Edwards, Gerry Wendrovsky, Sandra Desrosiers, Linda Soffron, John

Arcaro, Michael Tully, David Fritz, and Peggy Zahn (collectively, “Plaintiffs”), individually and

on behalf of the Settlement Class,1 respectfully move that the Court:

          (1) Certify the Settlement Class;

          (2) Appoint Plaintiffs as Representatives of the Settlement Class;

          (3) Appoint Robert Izard, Craig Raabe and Seth Klein of Izard, Kindall & Raabe, LLP

             (“IKR”); D. Greg Blankinship and Todd S. Garber of Finkelstein, Blankinship, Frei-

             Pearson & Garber, LLP (“FBFG”), Matthew R. Mendelsohn of Mazie Slater Katz &

             Freeman, LLC (“MSKF”), and Matthew D. Schelkopf of McCune Wright Arevalo, LLP

             (“MWA”) as Class Counsel for the Settlement Class; and

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    All capitalized terms have the meaning set out in the Settlement Agreement (ECF No. 116-1).
                                                    1
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        (4) Approve the Class Action Settlement and the terms thereof as set forth in the Settlement

           Agreement.

Plaintiffs also respectfully move that the Court award attorneys’ fees and expenses and Plaintiff

service awards as follows:2

        (a) Award attorneys’ fees to Class Counsel in the amount of $3,154,805.12 (constituting
            16% of the total value of the Settlement);

        (b) Award Class Counsel the additional amount of $474,194.88 for expenses reasonably
            and necessarily incurred in the prosecution of the litigation;

        (c) Award Plaintiffs $5,000 each for their time and effort on behalf of the Settlement
            Class.

        In support of this Motion, Plaintiffs have filed a Memorandum of Law and separate

supporting declarations of Class Counsel Robert A. Izard, D. Greg Blankinship, Richard Gordon,

Matthew R. Mendelsohn, and Matthew D. Schelkopf, as well as the Declaration of Joseph F.

Mahan of the Heffler Claims Group, the Settlement Administrator appointed by the Court in this

case.

        Following the June 26, 2018 deadline for claims, requests for exclusion and objections,

Class Counsel will also file a pdf of a form of [Proposed] Order (and will submit a Word copy to

Chambers upon request of the Court).

Dated: June 11, 2018
                                               Plaintiffs,


                                               By: /s/ Robert A. Izard
                                               Robert A. Izard
                                               Craig A. Raabe
                                               Seth R. Klein

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  Plaintiffs’ request for approval of the Settlement is separate from, and not dependent upon,
approval of Plaintiffs’ request for an award of attorneys’ fees and expenses and service awards.
See Settlement Agreement at ¶ 7.2.
                                                  2
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                                CERTIFICATE OF SERVICE



        I, Seth R. Klein, hereby certify that on this 11th day of June, 2018, the foregoing and the
supporting Memorandum and all supporting Declarations were filed electronically. Notice of
these filings will be sent by email to all parties by operation of the court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this document though the court’s CM/ECF system.

                                                     /s/ Seth R. Klein
                                                     Seth R. Klein




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